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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff/ Respondent,               Case No. 13-cr-20704-01

v                                                         Honorable Thomas L. Ludington

D-1, TRADVIS DEMARR WILLIAMS,

                     Defendant/ Petitioner.

__________________________________________/

       ORDER ADOPTING THE REPORT AND RECOMMENDATION, DENYING
    PETITIONER’S MOTION TO VACATE SENTENCE, DENYING CERTIFICATE OF
     APPEALABILTY, AND DENYING LEAVE TO APPEAL IN FORMA PAUPERIS

       On September 25, 2012 an indictment was issued charging Petitioner Tradvis Demarr

Williams and three co-defendants with various charges arising out of an alleged conspiracy to

possess with intent to distribute cocaine, cocaine base, and heroin.      After a superseding

indictment was issued on April 9, 2014, on April 18, 2014 Williams pleaded guilty to one count

of aiding and abetting the possession with intent to distribute 28 grams or more of a mixture

containing cocaine base in violation of §§ 841(a)(1) and 841(b)(1)(B). On August 27, 2014

Williams was sentenced as a career offender to 270 months’ imprisonment. Judgment was

entered on September 3, 2014, and Williams did not file any direct appeal. See ECF No. 104.

       Almost two years later, on August 16, 2016, Petitioner Williams filed a motion to vacate

his sentence pursuant to 28 U.S.C. § 2255, arguing that his sentence was rendered

unconstitutional by the Supreme Court’s decision Johnson v. United States, 135 S. Ct. 2551,

2562, 192 L. Ed. 2d 569 (2015) (striking down the residual clause of the Armed Career Criminal

Act as unconstitutionally vague in violation of the due process clause of the Fifth Amendment).
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See ECF No. 19. Williams’s motion was referred to Magistrate Judge Patricia T. Morris. See

ECF No. 180. On May 18, 2017 the magistrate judge issued her report, recommending that

William’s motion to vacate be denied. See ECF No. 196. The magistrate judge based her

recommendation on the Supreme Court’s decision in Beckles v. United States, in which the court

held that the sentencing guidelines are not subject to void for vagueness challenges under the

Fifth Amendment Due Process clause. See Beckles v. United States, No. 15-8544, 2017 WL

855781, at *3 (U.S. Mar. 6, 2017). In other words, the Supreme Court definitively held that

petitioners challenging their career offender status under the sentencing guidelines could not rely

on the rule articulated in Johnson.

       Although the magistrate judge’s report explicitly states that the parties to this action

could object to and seek review of the recommendation within fourteen days of service of the

report, neither party has filed any objections. The election not to file objections to the magistrate

judge’s report releases the Court from its duty to independently review the record. Thomas v.

Arn, 474 U.S. 140, 149 (1985). The failure to file objections to the report and recommendation

waives any further right to appeal. As such, the Court concludes that Petitioner has failed to

make a substantial showing of the denial of a constitutional right, and a certificate of

appealability is not warranted in this case. The Court further concludes that Petitioner should not

be granted leave to proceed in forma pauperis on appeal, as any appeal would be frivolous. See

Fed. R. App. P. 24(a).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation,

ECF No. 196, is ADOPTED.

       It is further ORDERED that Petitioner Williams’s motion to vacate his sentence, ECF

No. 177, is DENIED.



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       It is further ORDERED that a certificate of appealability is DENIED.

       It is further ORDERED that leave to proceed in forma pauperis on appeal is DENIED.


                                                                 s/Thomas L. Ludington
                                                                 THOMAS L. LUDINGTON
                                                                 United States District Judge
Dated: June 15, 2017



                                                PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on June 15, 2017.

                                                         s/Kelly Winslow
                                                         KELLY WINSLOW, Case Manager




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